Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 1 of 45 PageID #: 1103




                   UNITED STATES DISTRICT COURT
                      DISTRICT OF DELAWARE

                                         )
In re Walmart Inc. Securities Litigation ) Case No. 1:21-cv-0055-CFC
                                         ) (Consolidated)
                                         )
                                         ) CLASS ACTION
                                         )


   OPENING BRIEF IN SUPPORT OF MOTION TO DISMISS THE
 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE
                FEDERAL SECURITIES LAW
Dated: October 8, 2021                    Robert W. Whetzel (#2288)
                                          Raymond J. DiCamillo (#3188)
Of Counsel:                               RICHARDS, LAYTON &
                                          FINGER, P.A.
Sean M. Berkowitz                         920 North King Street
Nicholas J. Siciliano                     Wilmington, Delaware 19801
LATHAM & WATKINS LLP                      Tel.: +1.302.651.7700
330 North Wabash Avenue, Suite 2800       Fax: +1.302.651.7701
Chicago, Illinois 60611                   Email: whetzel@rlf.com
Tel.: +1.312.876.7700                     Email: dicamillo@rlf.com
Fax: +1.312.993.9767
Email: sean.berkowitz@lw.com              Counsel for Defendants
Email: nicholas.siciliano@lw.com

Counsel for Defendants
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 2 of 45 PageID #: 1104




                                       TABLE OF CONTENTS

                                                                                                                   Page
I.     INTRODUCTION ........................................................................................... 1

II.    FACTUAL BACKGROUND.......................................................................... 3

       A.       Walmart and the Individual Defendants ............................................... 3
       B.       Walmart’s Pharmacy Operations .......................................................... 3
       C.       Walmart Discloses Opioid-Related Litigation and
                Investigations......................................................................................... 4
       D.       ProPublica Publishes an Article About the DOJ Investigation,
                and Walmart’s Stock Price Quickly Rebounds ..................................... 5
       E.       Walmart Sues DOJ and DEA, and DOJ Sues Walmart ........................ 6
III.   ARGUMENT ................................................................................................... 7

       A.       Plaintiffs Do Not Allege an Actionable Misstatement or
                Omission ................................................................................................ 9
                1.       Walmart Did Not Violate Item 103 ..........................................10
                2.       Walmart Did Not Violate ASC 450 ..........................................13
                         a.        Plaintiffs’ Contention Is No More than
                                   Disagreement with Walmart’s Accounting
                                   Judgment .........................................................................14
                         b.        Walmart Did Not Have to Disclose the 2011 MOA ......16
                         c.        Walmart Disclosed the DOJ Investigation in
                                   Accordance with ASC 450 .............................................17
                3.       Walmart Did Not Violate Items 105 or 303 .............................19
                4.       “Inherently Aspirational” Statements and “Puffery” in
                         Walmart’s Code of Ethics and Press Release Are Not
                         Actionable ................................................................................. 22
                5.       The SOX Certifications Are Not Actionable ............................24
       B.       Plaintiffs Do Not Allege a Strong Inference of Scienter ....................25
                1.       Plaintiffs Do Not Establish a Strong Inference of Scienter
                         as to the Individual Defendants.................................................26

                                                           i
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 3 of 45 PageID #: 1105




              2.       Plaintiffs Do Not Establish a Strong Inference of Scienter
                       as to Walmart ............................................................................31
      C.      Plaintiffs Do Not Allege Loss Causation ............................................ 32
IV.   CONCLUSION..............................................................................................33




                                                      ii
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 4 of 45 PageID #: 1106




                                    TABLE OF AUTHORITIES

                                                                                                        Page(s)

                                                    CASES
Axar Master Fund, Ltd. v. Bedford,
  308 F. Supp. 3d 743 (S.D.N.Y. 2018) ................................................................22

Belmont v. MB Inv. P’rs, Inc.,
   708 F.3d 470 (3d Cir. 2013) .................................................................................8

Bien v. LifeLock Inc.,
   2015 WL 12819154 (D. Ariz. Jul. 21, 2015) ......................................................15

Cal. Pub. Emps.’ Ret. Sys. v. ANZ Sec., Inc.,
  137 S. Ct. 2042 (2017) ........................................................................................16

Cal. Pub. Emps.’ Ret. Sys. v. Chubb Corp.,
  394 F.3d 126 (3d Cir. 2004) .............................................................................8, 9

Cheung v. Keyuan Petrochemicals, Inc.,
  2012 WL 5834894 (C.D. Cal. Nov. 1, 2012) .....................................................31

City of Pontiac Policemen’s & Firemen’s Ret. Sys. v. UBS AG,
   752 F.3d 173 (2d Cir. 2014) ........................................................................ 10, 13

City of Roseville Emps.’ Ret. Sys. v. Horizon Lines, Inc.,
   686 F. Supp. 2d 404 (D. Del. 2009)............................................................ passim

City of Westland Police and Fire Ret. Sys. v. MetLife, Inc.,
   928 F. Supp. 2d 705 (S.D.N.Y. 2013) ......................................................... 11, 17

Eckert v. Paypal Holdings, Inc.,
   831 F. App’x 366 (9th Cir. 2020) .......................................................................29

Ferris v. Wynn Resorts Ltd.,
   462 F. Supp. 3d 1101 (D. Nev. 2020).................................................................21

Gaer v. Educ. Mgmt. Corp.,
  2011 WL 7277447 (W.D. Pa. Aug. 30, 2011) ....................................................21

Gold v. Ford Motor Co.,
  577 F. App’x 120 (3d Cir. 2014) ..........................................................................8
                                                        iii
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 5 of 45 PageID #: 1107




GSC Partners CDO Fund v. Washington,
  368 F.3d 228 (3d Cir. 2004) ...............................................................................25

Hill v. Gozani,
   638 F.3d 40 (1st Cir. 2011) .................................................................................20

Howard v. Arconic Inc.,
  395 F. Supp. 3d 516 (W.D. Pa. 2019).................................................... 10, 22, 31

Ieradi v. Mylan Labs., Inc.,
   230 F.3d 594 (3d Cir. 2000) ...............................................................................13

In re Aceto Corp. Sec. Litig.,
    2019 WL 3606745 (E.D.N.Y. Aug. 6, 2019) .....................................................14

In re Aetna, Inc. Sec. Litig.,
    617 F.3d 272 (3d Cir. 2010) ...........................................................................7, 10

In re AmTrust Fin. Servs., Inc. Sec. Litig.,
    2019 WL 4257110 (S.D.N.Y. Sept. 9, 2019) .....................................................24

In re Anadigics, Inc. Sec. Litig.,
    2011 WL 4594845 (D.N.J. Sept. 30, 2011) ........................................................30

In re Audible Inc. Sec. Litig.,
    2007 WL 1062986 (D.N.J. Apr. 3, 2007) .............................................................9

In re Bank of Am. AIG Disclosure Sec. Litig.,
    980 F. Supp. 2d 564 (S.D.N.Y. 2013) ......................................................... 17, 18

In re Digital Island Sec. Litig.,
    357 F.3d 322 (3d Cir. 2004) ...............................................................................25

In re Elecs. For Imaging, Inc. Sec. Litig.,
    2019 WL 397981 (D.N.J. Jan. 31, 2019) ............................................................26

In re Facebook, Inc. Sec. Litig.,
    405 F. Supp. 3d 809 (N.D. Cal. 2019) ................................................................11

In re Galena Biopharma, Inc. Sec. Litig.,
    2019 WL 5957859 (D.N.J. Nov. 12, 2019) ................................................. 11, 13



                                                       iv
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 6 of 45 PageID #: 1108




In re Hertz Glob. Holdings, Inc. Sec. Litig.,
    2017 WL 1536223 (D.N.J. Apr. 27, 2017),
    aff’d, 905 F.3d 106 (3d Cir. 2018) ............................................................... 14, 15

In re Intelligroup Sec. Litig.,
    468 F. Supp. 2d 670 (D.N.J. 2006) .................................................................9, 10

In re Lions Gate Ent. Corp. Sec. Litig.,
    165 F. Supp. 3d 1 (S.D.N.Y. 2016) ................................................. 11, 12, 17, 21

In re Merck & Co. Sec. Litig.,
    432 F.3d 261 (3d Cir. 2005) ...............................................................................33

In re NAHC, Inc. Sec. Litig.,
    2001 WL 1241007 (E.D. Pa. Oct. 17, 2001) ............................................... 28, 29

In re Rockefeller Ctr. Props., Inc. Sec. Litig.,
    311 F.3d 198 (3d Cir. 2002) .................................................................................8

In re SeaChange Int’l, Inc.,
    2004 WL 240317 (D. Mass. Feb. 6, 2004) .........................................................19

In re Yukos Oil Co. Sec. Litig.,
    2006 WL 3026024 (S.D.N.Y. Oct. 25, 2006) .....................................................17

Institutional Invs. Grp. v. Avaya, Inc.,
   564 F.3d 242 (3d Cir. 2009) ...............................................................................25

Israeli v. Team Telecom Int’l, Ltd.,
   2006 WL 2883237 (D.N.J. Oct. 10, 2006) .................................................. 26, 27

Janbay v. Canadian Solar, Inc.,
   2012 WL 1080306 (S.D.N.Y. Mar. 30, 2012) ....................................................33

JPMorgan Chase & Co. v. Comm’r of Internal Revenue,
  458 F.3d 564 (7th Cir. 2006) ..............................................................................14

Klein v. Autek,
   147 F. App’x 270 (3d Cir. 2005) ........................................................................28

Lewis v. YRC Worldwide Inc.,
  2020 WL 1493915 (N.D.N.Y. Mar. 27, 2020) ...................................................24


                                                        v
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 7 of 45 PageID #: 1109




Lord Abbett Affiliated Fund, Inc. v. Navient,
   363 F. Supp. 3d 476 (D. Del. 2019)....................................................................24

Makor Issues & Rights, Ltd. v. Tellabs Inc.,
  513 F.3d 702 (7th Cir. 2008) ..............................................................................32

Martin v. GNC Holdings, Inc.,
  2017 WL 3974002 (W.D. Pa. Sept. 8, 2017)......................................................28

Meyer v. Greene,
  710 F.3d 1189 (11th Cir. 2013) ..........................................................................33

N. Sound Cap. LLC v. Merck & Co.,
   702 F. App’x 75 (3d Cir. 2017) ..........................................................................16

Nat’l Junior Baseball League v. Pharmanet Dev. Grp. Inc.,
  720 F. Supp. 2d 517 (D.N.J. 2010) .............................................................. 27, 30

Omnicare Inc. v. Laborers Dist. Council Const. Indus. Pension Fund,
  575 U.S. 175 (2015) ..................................................................................... 15, 25

Ong v. Chipotle Mexican Grill, Inc.,
  294 F. Supp. 3d 199 (S.D.N.Y. 2018) ................................................................24

Oran v. Stafford,
  226 F.3d 275 (3d Cir. 2000) .................................................................. 19, 20, 27

Rahman v. Kid Brands, Inc.,
  736 F.3d 237 (3d Cir. 2013) ....................................................................... passim

Retail Wholesale & Dep’t Store Union Local 338 Ret. Fund v. Hewlett-Packard
   Co.,
   845 F.3d 1268 (9th Cir. 2017) ............................................................................23

Salim v. Mobile Telesystems PJSC,
   2021 WL 796088 (E.D.N.Y. Mar. 1, 2021)................................................. 13, 19

Sapir v. Averback,
   2016 WL 554581 (D.N.J. Feb. 10, 2016) ...........................................................26

ScripsAmerica, Inc. v. Ironridge Glob. LLC,
   119 F. Supp. 3d 1213 (C.D. Cal. 2015) ..............................................................29


                                                       vi
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 8 of 45 PageID #: 1110




SLF Holdings, LLC v. Uniti Fiber Holdings, Inc.,
  499 F. Supp. 3d 49 (D. Del. Nov. 4, 2020).................................................. 29, 33

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
   551 U.S. 308 (2007) ........................................................................................7, 26

United States v. Crop Growers Corp.,
  954 F. Supp. 335 (D.D.C. 1997) .........................................................................11

Veal v. LendingClub Corp.,
  423 F. Supp. 3d 785 (N.D. Cal. 2019), aff’d, 2021 WL 4281301 (9th Cir. Sept.
  21, 2021) .............................................................................................................17

Walmart Inc. v. U.S. Dep’t of Justice,
  No. 4:20-cv-00817 (E.D. Tex. Oct. 22, 2020) ........................................... 6, 7, 33

                                                   STATUTES
15 U.S.C. § 78u–4(b)(1) ............................................................................................8

15 U.S.C. § 78u-4(b)(2) ...........................................................................................25

                                                       RULES
Fed. R. Civ. P. 9(b) ................................................................................................7, 8

                                                REGULATIONS
17 C.F.R. § 229.103 .................................................................................................11

17 C.F.R. § 229.105 .................................................................................................19

17 C.F.R. § 229.303 .................................................................................................21

17 C.F.R. § 240.10b-5 ..............................................................................................31




                                                           vii
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 9 of 45 PageID #: 1111




                          GLOSSARY OF TERMS

The following terms are used in this memorandum:

2011 MOA:         Administrative Memorandum of Agreement between the
                  United States Department of Justice, Drug Enforcement
                  Administration, and Wal-Mart Stores, Inc., dated March 17,
                  2011, attached to the Declaration of Raymond J. DiCamillo as
                  Exhibit 13
Board:            Walmart Inc.’s Board of Directors
CAC or            Amended Class Action Complaint for Violations of the
Complaint:        Federal Securities Laws, filed July 12, 2021, Dkt. No. 29
CEO:              Chief Executive Officer
CFO:              Chief Financial Officer
Challenged        Statements challenged as false or misleading in violation of
Statements:       Section 10(b) of the Securities Exchange Act in the Amended
                  Class Action Complaint, as detailed in ¶¶ 293-350
Class Period:     March 30, 2016 through December 22, 2020, inclusive
Code:             Walmart Inc.’s Code of Ethics and Statement of Ethics,
                  attached to the Declaration of Raymond J. DiCamillo as
                  Exhibit 12
Company:          Walmart Inc.
Controlled        The U.S. Comprehensive Drug Abuse Prevention and Control
Substances Act,   Act of 1970, 1970 U.S.C.C.A.N. 4566, 4571-72
or CSA:
DEA:              U.S. Drug Enforcement Administration
Defendants:       Walmart Inc., C. Douglas McMillon, M. Brett Biggs, and
                  David Chojnowski
EDTX:             The Eastern District of Texas
Form 10-K:        Annual Report Pursuant to Section 13 or 15(d) of the
                  Securities Exchange Act of 1934, filed with the SEC on Form
                  10-K



                                     viii
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 10 of 45 PageID #: 1112




 Form 10-Q:        Quarterly Report Pursuant to Section 13 or 15(d) of the
                   Securities Exchange Act of 1934, filed with the SEC on Form
                   10-Q
 GAAP:             Generally Accepted Accounting Principles
 Individual        C. Douglas McMillon, M. Brett Biggs, and David
 Defendants:       Chojnowski
 DOJ:              U.S. Department of Justice
 DOJ Complaint:    Complaint filed in U.S. v. Walmart Inc. and Wal-Mart Stores
                   East, LP, 1:99-mc-09999 (D. Del.), dated December 22, 2020,
                   attached to Plaintiffs’ Complaint as Ex. A
 DOJ               U.S. Department of Justice investigation related to Walmart
 Investigation:    Inc.’s nationwide controlled substance dispensing practices
                   involving the sale of opioids
 MDL:              Multidistrict litigation pending in the United States District
                   Court for the Northern District of Ohio, captioned In re:
                   National Prescription Opiate Litigation, No. 1:17-MD-2805
                   (N.D. Ohio)
 Plaintiffs:       Kim Kengle, as trustee of the Kim K. Kengle 2000 Trust, and
                   Roseanne Lacy
 ProPublica        Article published on www.propublica.org on March 25, 2020,
 Article:          entitled “Walmart Was Almost Charged Criminally Over
                   Opioids. Trump Appointees Killed the Indictment,” attached to
                   the Declaration of Raymond J. DiCamillo as Exhibit 8
 PSLRA:            The Private Securities Litigation Reform Act of 1995
 SEC:              U.S. Securities and Exchange Commission
 SOX:              The Sarbanes-Oxley Act of 2002
 Walmart:          Walmart Inc.




                                        ix
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 11 of 45 PageID #: 1113




I.    INTRODUCTION

      More than three years ago, Walmart disclosed in its SEC filings that it had

been named in various lawsuits concerning the impact of widespread opioid abuse.

Soon after, it disclosed that the Company was responding to governmental

subpoenas, information requests, and investigations related to its nationwide

controlled-substance dispensing practices involving opioids.       Walmart warned

investors that it could not provide any assurance as to the scope or outcome of the

investigations—or whether its business, financial condition, or results of operations

would be materially and adversely affected.

      Walmart updated these disclosures in each of its quarterly SEC filings over

the next two years. Then in March 2020, ProPublica published an article asserting

that DOJ “almost” charged Walmart criminally for alleged Controlled Substance Act

violations. The article relied on unsubstantiated assertions by DOJ and claimed that

in 2018, prosecutors from the EDTX wanted to indict and embarrass Walmart to

extract a large civil settlement. But DOJ never filed criminal charges.

      In fact, in October 2020, Walmart sued DOJ and DEA, seeking a declaration

that it had not violated the CSA. In that filing, Walmart noted that DOJ planned to

bring a civil action against the Company. Sure enough, DOJ filed a civil lawsuit two

months later, asserting that Walmart and its pharmacists had violated the CSA. Both

matters remain pending.


                                         1
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 12 of 45 PageID #: 1114




      This lawsuit originated shortly after the DOJ Complaint was filed. Plaintiffs

allege that Walmart and its CEO (C. Douglas McMillon), CFO (M. Brett Biggs), and

Controller (David Chojnowski) violated the federal securities laws by concealing the

DOJ Investigation and its potential consequences.

      Many problems plague these allegations, any one of which requires dismissal

under the PSLRA’s heightened pleading standards. To start, Plaintiffs have not pled

with particularity that Defendants made any false or misleading statements. On the

contrary, Walmart disclosed the DOJ Investigation (and other investigations)—in

2018—and explained that it could not predict the investigations’ scope or outcome,

or assure its business would not suffer a material adverse effect. No SEC regulation

or accounting rule required Walmart to disclose anything more. The CAC should

be dismissed on this ground alone.

      Plaintiffs’ scienter allegations are equally deficient. To survive a motion to

dismiss, Plaintiffs must allege strong circumstantial evidence, on an individualized

basis, showing that the Defendants knew (or recklessly disregarded) that their

statements were false when made. Plaintiffs come nowhere close to meeting this

burden. The CAC barely mentions the Individual Defendants at all—much less

pleads individualized, particularized facts supporting a strong and cogent inference

that Defendants acted with an intent to deceive.

      Finally, Plaintiffs have failed to plead loss causation. Plaintiffs point to the

                                          2
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 13 of 45 PageID #: 1115




ProPublica Article and the DOJ Complaint as alleged “corrective disclosures”—but

do not try to explain how either revealed a previously concealed truth in Walmart’s

statements. At most, the “disclosures” repeated already-public information or

caused the market to speculate about potential wrongdoing, which cannot support a

loss-causation theory. The CAC should be dismissed.

II.    FACTUAL BACKGROUND
       A.     Walmart and the Individual Defendants

       Walmart is one of the largest retailers in the United States. CAC ¶ 8. C.

Douglas McMillon has held various positions at Walmart, serving as President and

CEO since 2014. Id. ¶ 39. M. Brett Biggs has been Walmart’s CFO since January

2016, and David Chojnowski has been the controller since January 2017.1 Id. ¶¶ 40-

41.

       Walmart operates through three reporting segments: Walmart U.S., Walmart

International, and Sam’s Club. Ex. 5 at 7. Walmart’s Class Period annual revenue

was about $500 billion, and its total assets exceeded $200 billion. CAC ¶ 289; Exs.

3 at 84; 6 at 76.

       B.     Walmart’s Pharmacy Operations

       The Walmart U.S. segment sells many different products and categorizes



1
  Plaintiffs incorrectly assert that Chojnowski serves on Walmart’s Audit
Committee. CAC ¶ 41. That is a Board committee, and Chojnowski is not on the
Board.
                                      3
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 14 of 45 PageID #: 1116




them into three units: Grocery, General Merchandise, and Health and Wellness.

CAC ¶ 87; Ex. 5 at 8-9. Health and Wellness is the smallest of the three units.

During the Class Period, it represented less than 11% of Walmart U.S.’s total sales,

and less than 8% of the Company’s total sales. Exs. 3 at 9, 83; 6 at 75-76. The

Company’s revenues from prescription-medication sales comprise an even smaller

portion of the business. E.g., Ex. 6 at 8 (prescription-medication sales comprise only

one sales category under the Health and Wellness unit).

      Pharmacists at Walmart retail pharmacies fill patient prescriptions written by

licensed prescribers. CAC ¶ 75. A fraction of those prescriptions are for opioid

medications. CAC Ex. D at 32-33. Through a subsidiary, Walmart also distributed

certain controlled substances to Walmart-operated pharmacies for a time before May

2018. CAC ¶ 133. Walmart has never manufactured or marketed controlled

substances, nor has it distributed controlled substances to any third-party pharmacy.

      Walmart designed a system of controls for the self-distribution of controlled

substances, including opioids. Id. ¶¶ 149-150. The Company also designed controls

for its controlled-substance dispensing. Id. ¶¶ 98-99.

      C.     Walmart Discloses Opioid-Related Litigation and Investigations

      Like other companies that have dispensed or distributed prescription opioid

medications, Walmart has been the subject of lawsuits and investigations in recent

years. Walmart was first named as a defendant in an opioid-related lawsuit in March


                                          4
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 15 of 45 PageID #: 1117




2017. Nine months later, that action was transferred to the MDL. CAC ¶¶ 58-59,

301. Walmart disclosed the MDL in its March 30, 2018 Form 10-K and has

continued to update the disclosure as the MDL has progressed. Walmart denies the

allegations in the MDL, which is ongoing. Id. ¶¶ 301, 303-304.

      The Company also has “been responding to subpoenas, information requests

and investigations from governmental entities related to nationwide controlled

substance dispensing practices involving the sale of opioids.” Id. ¶ 303. Walmart

disclosed those investigations beginning in June 2018, and as with the MDL, has

updated the disclosures since then. Exs. 4 at 16; 5 at 73; 6 at 23, 72. Walmart has

consistently told investors that it “can provide no assurance as to the scope and

outcome of these matters and no assurance as to whether its business, financial

condition or results of operations will not be materially adversely affected.” Id.

      D.     ProPublica Publishes an Article About the DOJ Investigation, and
             Walmart’s Stock Price Quickly Rebounds

      Two years after Walmart disclosed the MDL and opioid-related

investigations, ProPublica published an article about one of the investigations.

Among other things, the article asserted that DOJ attorneys in EDTX wanted to

charge Walmart criminally in 2018, but ultimately did not after more senior DOJ

officials considered the matter. CAC ¶ 351; Ex. 8 at 2-4.

      The article glossed over what really happened, as reflected in

contemporaneous letters sent by Walmart’s counsel. Walmart maintained that the

                                          5
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 16 of 45 PageID #: 1118




EDTX lawyers had threatened an unsupported criminal indictment to force an

unjustified civil settlement—actions that violated DOJ’s own internal policies and

ethics rules. See Ex. 9. When Walmart sought fair consideration of the law and

facts, DOJ assigned independent career prosecutors to review the matter, who

declined to pursue criminal charges. CAC ¶¶ 235-236.

      Walmart’s stock price fell the day of the ProPublica Article, but quickly

rebounded. Just five days later, Walmart shares closed at $115.19—higher than the

price before the article. Ex. 10. By mid-April 2020, Walmart shares traded 20%

above the price on the day of the article. Id. Walmart’s stock price continued to rise

over the next few months. By mid-December 2020, Walmart traded around $145

(over 30% higher than the price on the day of the ProPublica Article). Id.

      E.     Walmart Sues DOJ and DEA, and DOJ Sues Walmart

      The various lawsuits and investigations continued into 2020. On October 22,

2020, Walmart sued DOJ and DEA. See Walmart Inc. v. U.S. Dep’t of Justice, No.

4:20-cv-00817 (E.D. Tex. Oct. 22, 2020) (Ex. 11). Walmart alleged that the

government was interpreting the CSA improperly and trying to blame Walmart (and

others) for the government’s own (and others’) failures, and sought a declaration that

Walmart’s pharmacists were not liable under the CSA for failing to second-guess

licensed doctors’ prescribing practices. Id. at 52. Walmart noted its belief that the

government “intend[ed] to pursue a civil enforcement action against Walmart” for


                                          6
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 17 of 45 PageID #: 1119




alleged CSA violations.2 Id. ¶ 115.3

       Two months later, DOJ filed a civil complaint, alleging that Walmart violated

the CSA as a controlled-substances dispenser and distributor.         CAC Ex. A.

Walmart’s motion to dismiss is pending. Walmart’s share price fell slightly the day

DOJ filed its lawsuit, from $145.97 to $144.20. Ex. 10. But again, the stock quickly

recovered. Less than two weeks later, Walmart shares eclipsed $146, higher than

the price before the DOJ Complaint. Id. Plaintiffs’ predecessors then filed this

lawsuit, claiming erroneously that Defendants had failed to disclose the DOJ

Investigation and related matters.

III.   ARGUMENT

       Plaintiffs’ claims are subject to the rigorous, heightened pleading

requirements of Rule 9(b) and the PSLRA. See Tellabs, Inc. v. Makor Issues &

Rights, Ltd., 551 U.S. 308, 313, 319 (2007); In re Aetna, Inc. Sec. Litig., 617 F.3d

272, 277-78 (3d Cir. 2010) (PSLRA imposes “exacting and distinct pleading

requirements for securities fraud actions”). Rule 9(b) requires Plaintiffs to “state

with particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P.

9(b). This requires Plaintiffs to “specify ‘the who, what, when, where, and how’”



2
  In a press release issued the same day, Walmart similarly stated that DOJ was
threatening a lawsuit against the Company. See Ex. 7.
3
  Walmart’s appeal from dismissal of its suit on jurisdictional grounds is pending in
the U.S. Court of Appeals for the Fifth Circuit.
                                         7
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 18 of 45 PageID #: 1120




for each element of their claim. See Cal. Pub. Emps.’ Ret. Sys. v. Chubb Corp., 394

F.3d 126, 144 (3d Cir. 2004). The “PSLRA imposes a dramatically higher standard”

(City of Roseville Emps.’ Ret. Sys. v. Horizon Lines, Inc., 686 F. Supp. 2d 404, 414

(D. Del. 2009)) and “another layer of factual particularity” (In re Rockefeller Ctr.

Props., Inc. Sec. Litig., 311 F.3d 198, 217 (3d Cir. 2002)). The PSLRA requires

Plaintiffs to “specify each statement alleged to have been misleading, the reason or

reasons why the statement is misleading, and, if an allegation regarding the statement

or omission is made on information and belief,” to “state with particularity all facts

on which that belief is formed.” 15 U.S.C. § 78u–4(b)(1).

      The PSLRA also “enhances” Rule 9(b) and requires Plaintiffs to state with

particularity facts giving rise to a strong inference of scienter—i.e., that Defendants

acted with “an intent to deceive, manipulate, or defraud.” Rahman v. Kid Brands,

Inc., 736 F.3d 237, 242 (3d Cir. 2013). Plaintiffs must allege facts that “constitute

circumstantial evidence of either reckless or conscious [mis]behavior.” Gold v. Ford

Motor Co., 577 F. App’x 120, 123 (3d Cir. 2014). Recklessness is an “extreme

departure from the standards of ordinary care,” and must “present[] a danger of

misleading buyers or sellers that is either known to the defendant or is so obvious

that the actor must have been aware of it.” Belmont v. MB Inv. P’rs, Inc., 708 F.3d

470, 493 (3d Cir. 2013). To qualify as “strong,” “an inference of scienter must be

more than merely plausible or reasonable—it must be cogent and at least as

                                          8
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 19 of 45 PageID #: 1121




compelling as any opposing inference of nonfraudulent intent.” Rahman, 736 F.3d

at 242; see also In re Audible Inc. Sec. Litig., 2007 WL 1062986, at *13 (D.N.J. Apr.

3, 2007) (“[B]roadly worded conclusory statements . . . do not constitute specific

‘facts giving rise to a strong inference of conscious wrongdoing’ on the part of

Defendants.”).

      Plaintiffs must also plead loss causation—i.e., that Defendants’ alleged

misrepresentation “concealed something from the market that, when disclosed,

negatively affected the value of the security.” In re Intelligroup Sec. Litig., 468 F.

Supp. 2d 670, 692 (D.N.J. 2006). A complaint must be dismissed if it fails to plead

any of these elements—the CAC’s failure to plead all three requires its dismissal.

See Chubb, 394 F.3d at 144-45 (“the court shall” dismiss a complaint that fails to

meet the “substantially heighted[ed]” requirements).

      A.     Plaintiffs Do Not Allege an Actionable Misstatement or Omission

      Plaintiffs challenge all of the Company’s Class-Period Forms 10-K and 10-Q

as false or misleading. Plaintiffs assert that Defendants violated SEC Regulation S-

K (Items 103, 105, and 303) and GAAP (ASC 450) because Walmart allegedly

“concealed the DOJ Investigation and the risks related to the Company’s failure to

comply with the CSA.” CAC ¶¶ 5-6. Plaintiffs also challenge certain statements in

Walmart’s Code of Ethics and Statement of Ethics, an October 26, 2017 press

release, and McMillon’s and Biggs’s SOX Certifications. Plaintiffs have not met


                                          9
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 20 of 45 PageID #: 1122




their “rigorous” and “exacting” burden to plead material falsity with particularity,

and the CAC should be dismissed. See In re Aetna, 617 F.3d at 277-78; Intelligroup,

468 F. Supp. 2d at 676.

             1.    Walmart Did Not Violate Item 103

      Plaintiffs first allege that Walmart violated Regulation S-K Item 103 (“Legal

Proceedings”) “by failing to disclose the DOJ Investigation.” CAC ¶ 322. Plaintiffs

argue that Walmart improperly failed to disclose that: (i) EDTX “was contemplating

indicting the Company”; (ii) the “contemplated indictment stemmed from the DOJ

Investigation . . . which began on December 7, 2016”; (iii) “DOJ’s claims were based

on Defendants’ decade long” CSA violations; and (iv) “DOJ was seeking criminal

relief and a billion dollars to resolve the matter civilly.” Id. But Item 103 required

none of these disclosures.

      Plaintiffs’ allegations rest on the incorrect premise that Walmart had to

disclose “CSA violations.” Disclosure is “not a rite of confession, and companies

do not have a duty ‘to disclose uncharged, unadjudicated wrongdoing.’” City of

Pontiac Policemen’s & Firemen’s Ret. Sys. v. UBS AG, 752 F.3d 173, 184 (2d Cir.

2014); see also Howard v. Arconic Inc., 395 F. Supp. 3d 516, 572 (W.D. Pa. 2019)

(same). No court has found that Walmart violated the CSA, and Walmart strongly

believes it did not. Walmart did not have to disclose and admit unproven violations.

See In re Galena Biopharma, Inc. Sec. Litig., 2019 WL 5957859, at *10 (D.N.J.


                                         10
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 21 of 45 PageID #: 1123




Nov. 12, 2019); In re Facebook, Inc. Sec. Litig., 405 F. Supp. 3d 809, 836 (N.D. Cal.

2019) (“[C]ompanies are not required to engage in ‘self-flagellation’ by disclosing

unproven allegations.”).

      Item 103 did not require Walmart to disclose the DOJ Investigation, either. A

“government investigation, without more, does not trigger a generalized duty to

disclose.” In re Lions Gate Ent. Corp. Sec. Litig., 165 F. Supp. 3d 1, 12 (S.D.N.Y.

2016). Item 103 only requires companies to “[d]escribe briefly any material pending

legal proceedings” to which the company is a party, and “any such proceedings

known to be contemplated by governmental authorities.” 17 C.F.R. § 229.103(a)

(emphasis added). An “investigation alone is not a ‘pending legal proceeding’ or a

‘proceeding[] known to be contemplated by governmental authorities’ under Item

103.” Lions Gate, 165 F. Supp. 3d at 18; see also City of Westland Police and Fire

Ret. Sys. v. MetLife, Inc., 928 F. Supp. 2d 705, 718 (S.D.N.Y. 2013) (no duty to

disclose pending state-attorneys-general investigations under Item 103); United

States v. Crop Growers Corp., 954 F. Supp. 335, 347 (D.D.C. 1997) (Item 103 “does

not require” disclosure of “uncharged criminal conduct”).

      Indeed, Item 103 instructs issuers to “[i]nclude the name of the court or agency

in which the proceedings are pending, the date instituted, the principal parties

thereto, [and] a description of the factual basis” of the suit. 17 C.F.R. § 229.103.

Walmart “could not have provided any of this information” during the Class Period

                                         11
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 22 of 45 PageID #: 1124




because EDTX never filed a criminal action. Lions Gate, 165 F. Supp. 3d at 19.

      Nor did the EDTX prosecutor’s March 28, 2018 notification “of her intention

to indict the Company” (CAC ¶ 212) mark the beginning of a “proceeding[] known

to be contemplated” under Item 103. Lions Gate, 165 F. Supp. 3d at 19. On that

day, the prosecutor abruptly told Company counsel that she intended to present an

indictment against Walmart as a co-conspirator with a previously indicted doctor.

CAC ¶¶ 200-201, 212-213; Ex. 9. But she agreed to postpone any potential

indictment so the parties could discuss her theory of liability. Id. The next month,

Walmart met with EDTX prosecutors, who said they planned to indict and embarrass

the Company. CAC ¶ 217; Ex. 9. But DOJ declined to pursue criminal charges a

few months later. CAC ¶ 231. In fact, no criminal action “was ever brought” against

Walmart. Lions Gate, 165 F. Supp. 3d at 19.

      In any event, after Walmart met with the EDTX prosecutors in May 2018, it

disclosed the DOJ Investigation in its next Form 10-Q. CAC ¶ 303. In June 2018,

Walmart stated that it had been “responding to subpoenas, information requests, and

investigations from governmental entities related to nationwide controlled substance

dispensing practices involving the sale of opioids.” Id. This included, but was not

limited to, the DOJ Investigation. Walmart added that it could “provide no assurance

as to the scope and outcome of these matters, and no assurance as to whether its

business, financial condition, or results of operations will not be materially adversely

                                          12
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 23 of 45 PageID #: 1125




affected.” Id. (emphasis added). Walmart’s disclosure continued to evolve—noting,

for example, when the investigations expanded to encompass Walmart’s dispensing

and distribution practices.     See Exs. 5-6.      By disclosing the “government

investigations” and their “potential legal ramifications,” Walmart complied with any

potential Item 103 obligations. Galena, 2019 WL 5957859, at *10-11; see also

Ieradi v. Mylan Labs., Inc., 230 F.3d 594, 599 (3d Cir. 2000) (similar disclosures

were “more than sufficient to put potential investors . . . on notice” that company

could be subject to government actions); UBS, 752 F.3d at 184 (“By disclosing its

involvement in multiple legal proceedings and government investigations and

indicating that its involvement could expose UBS ‘to substantial monetary damages

and legal defense costs’ . . . UBS complied with its disclosure obligations[.]”). 4

             2.     Walmart Did Not Violate ASC 450

      Plaintiffs also assert that Walmart’s Class-Period Forms 10-Q and 10-K

violated GAAP—specifically ASC 450—by “knowingly” failing to (1) disclose the

2011 MOA as a “loss contingency in Walmart’s financial statements”; and

(2) disclose and accrue the DOJ Investigation as a “contingent liability.” CAC ¶¶



4
  Indeed, had Walmart disclosed—as Plaintiffs suggest (CAC ¶ 305)—that it was
facing imminent indictment, that disclosure would have been false. By August 31,
2018, the “DOJ informed Walmart that it was declining to criminally prosecute the
Company.” Id. ¶ 231. If Walmart would have made such a premature disclosure,
Plaintiffs “would undoubtedly have taken issue with” it. See Salim v. Mobile
Telesystems PJSC, 2021 WL 796088, at *8 (E.D.N.Y. Mar. 1, 2021).
                                        13
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 24 of 45 PageID #: 1126




310, 319-320. These allegations fail for many reasons.

                    a.     Plaintiffs’ Contention Is No More than Disagreement
                           with Walmart’s Accounting Judgment

      Walmart has not restated its financial statements or admitted to any GAAP

violations. Plaintiffs’ claim, therefore, “amounts to mere disagreement with [the

Company’s] accounting judgment,” which “[c]ourts have routinely rejected” as a

basis for securities fraud. In re Aceto Corp. Sec. Litig., 2019 WL 3606745, at *7

(E.D.N.Y. Aug. 6, 2019).

      That is because GAAP is “far from” a “canonical set of rules,” and “tolerate[s]

a range of ‘reasonable’ treatments, leaving the choice . . . to management.”

JPMorgan Chase & Co. v. Comm’r of Internal Revenue, 458 F.3d 564, 569 (7th Cir.

2006) (citation omitted).     ASC 450—the accounting standard that Plaintiffs

identify—calls for disclosure of loss contingencies where it is “probable” that a

liability has been incurred at the date of the financial statements and the amount of

that liability can be “reasonably estimated,” or where there is “at least a reasonable

possibility” that a loss may have been incurred. ASC 450-20-25-2, 50-3. “These

are not the kind of fixed rules that would qualify as objective standards.” In re Hertz

Glob. Holdings, Inc. Sec. Litig., 2017 WL 1536223, at *11 (D.N.J. Apr. 27, 2017),

aff’d, 905 F.3d 106 (3d Cir. 2018).

      Indeed, because ASC 450 is inherently “subjective,” whether to make a

disclosure or accrual is a matter of opinion. See id. An opinion “may be actionable

                                          14
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 25 of 45 PageID #: 1127




as (1) an untrue statement of material fact if the opinion is both incorrect (i.e.,

objectively false) and not genuinely believed (i.e., subjectively false), or

(2) misleading if the speaker omits material facts underlying the basis for the opinion

‘if those facts conflict with what a reasonable investor would take from the statement

itself.’” Id. at *12 (quoting Omnicare Inc. v. Laborers Dist. Council Const. Indus.

Pension Fund, 575 U.S. 175, 189 (2015)).

      Plaintiffs do not allege either.     They do not allege that the Individual

Defendants played any role in determining whether the 2011 MOA or the DOJ

Investigation should have been disclosed or accrued under ASC 450, much less that

the Individual Defendants knew GAAP required additional disclosures and chose

not to make such disclosures. This is fatal to Plaintiffs’ claims. See Hertz, 2017 WL

1536223, at *38 (“Plaintiffs have failed to plead facts which would create a strong

inference that Defendants knew their financials were not GAAP compliant when the

statements were issued, and they have likewise failed to plead that Defendants

knowingly or recklessly omitted that fact from their statements.”).5



5
  That Walmart told investors it could not predict the investigations’ scope or
outcome or assure its business would not suffer a material adverse effect also
undermines Plaintiffs’ suggestion that Walmart failed to disclose a potential loss.
See Omnicare, 575 U.S. at 190 (“[A]n investor reads each statement within such a
document, whether of fact or of opinion, in light of all its surrounding text, including
hedges, disclaimers, and apparently conflicting information.”); Bien v. LifeLock Inc.,
2015 WL 12819154, at *5 (D. Ariz. Jul. 21, 2015) (given defendants’ “negative”
disclosures, including anticipation of FTC investigation, the court could not
                                         15
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 26 of 45 PageID #: 1128




                   b.     Walmart Did Not Have to Disclose the 2011 MOA

      Plaintiffs’ GAAP claims fail for other reasons, too. For example, Plaintiffs

assert that in 2016, Walmart should have disclosed that it “violated the 2011 MOA”

and it “was reasonably possible that” those violations “would result in a material

loss.” CAC ¶ 309. This is wrong for at least two reasons.

      First, ASC 450 did not require disclosure of the 2011 MOA. That agreement

expired a year before the Class Period began (CAC ¶ 188), so it was not a “pending

or threatened litigation.” See ASC 450-20-55-10 (“disclosure is required with

respect to pending or threatened litigation and actual or possible claims and

assessments”).6

      Second, ASC 450 did not require Walmart to disclose it “had violated the

2011 MOA” or that it would suffer a “material loss.” CAC ¶ 309. Plaintiffs’

premise—that Walmart violated the CSA (and therefore the 2011 MOA)—comes

directly from unproven allegations in the DOJ Complaint. See CAC ¶¶ 63-241.

Plaintiffs cannot establish CSA violations “simply because they appear in” a

government-agency’s complaint. See Veal v. LendingClub Corp., 423 F. Supp. 3d



conclude that failure to disclose more-specific information rendered the opinion
misleading to a reasonable person reading the statement fairly and in context).
6
 Any claim that the Company should have disclosed the 2011 MOA before the Class
Period is barred by the five-year statute of repose. Cal. Pub. Emps.’ Ret. Sys. v. ANZ
Sec., Inc., 137 S. Ct. 2042 (2017); N. Sound Cap. LLC v. Merck & Co., 702 F. App’x
75, at *79-80 (3d Cir. 2017).
                                           16
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 27 of 45 PageID #: 1129




785, 811 (N.D. Cal. 2019), aff’d, 2021 WL 4281301 (9th Cir. Sept. 21, 2021); see

also In re Yukos Oil Co. Sec. Litig., 2006 WL 3026024, at *16 (S.D.N.Y. Oct. 25,

2006) (company was not required “to disclose the speculative possibility” that it

violated the law and would suffer a material loss as a result); supra Section III.A.1.

                   c.     Walmart Disclosed the DOJ Investigation in
                          Accordance with ASC 450

      Plaintiffs also assert that Walmart should have (1) disclosed the DOJ

Investigation “as a contingent liability” before June 2018; and (2) accrued $1 billion

after June 2018. CAC ¶¶ 319-320. As to the first point, Plaintiffs concede the EDTX

prosecutor did not even mention the possibility of a criminal indictment until March

2018, and did not discuss it with Walmart until May 2018. CAC ¶¶ 212-216. ASC

450 states that a loss-contingency disclosure should be made “if there is at least a

reasonable possibility that a loss . . . may have been incurred[.]” ASC 450-50-3.

Under Plaintiffs’ own allegations, Walmart could not have been aware that a loss

“may have been incurred” until May 2018 at the earliest—after which Walmart

promptly disclosed the investigations. Before that time, the DOJ Investigation

cannot have been a “pending or threatened litigation” and did not require disclosure

under ASC 450. See Lions Gate, 165 F. Supp. 3d at 21-22; City of Westland, 928 F.

Supp. 2d at 718 (“state investigations were not pending or threatened litigation”

under ASC 450); In re Bank of Am. AIG Disclosure Sec. Litig., 980 F. Supp. 2d 564,

583-84 (S.D.N.Y. 2013) (investigations did not have to be disclosed under ASC

                                         17
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 28 of 45 PageID #: 1130




450).

        Nor did ASC 450 require Walmart to accrue $1 billion. ASC 450 states that

an “estimated loss from a loss contingency shall be accrued . . . if both the following

conditions are met”: (a) “[i]nformation available before the financial statements are

issued . . . indicates that it is probable that . . . a liability had been incurred at the

date of the financial statements”; and (b) the “amount of loss can be reasonably

estimated.” ASC 450-25-2 (emphasis added). Plaintiffs do not allege either prong

with particularity, and more importantly, do not allege that Defendants believed that

$1 billion (or any other amount) was a “reasonable estimate” of “probable” liability.

        Still, Walmart was not silent about potential losses. Walmart disclosed that it

could provide no assurance that its business, financial condition, and results of

operations would not be materially adversely affected by the opioid investigations.

No “investor could read these disclosures without understanding that indeterminate

potential losses . . . could later materialize.” Bank of Am., 980 F. Supp. 2d at 580.

Walmart had no duty to say more. Id. That an EDTX prosecutor referenced $1

billion at a May 2018 meeting does not change the analysis. CAC ¶ 217. The

comment was not made as part of settlement negotiations between the parties. Just

the opposite: Walmart believed the EDTX prosecutor improperly threatened

criminal charges to extract a civil penalty untethered to the facts and law. Indeed,

more than three years have passed since that meeting, and Walmart has paid nothing

                                           18
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 29 of 45 PageID #: 1131




to DOJ. See Salim, 2021 WL 796088, at *7 (rejecting ASC 450 argument where

“circumstances were far less obvious and straightforward” than plaintiffs claimed).

             3.     Walmart Did Not Violate Items 105 or 303

      Plaintiffs next assert that Walmart violated Regulation S-K Items 105 (“risk

factors”) and 303 (“management’s discussion and analysis of financial condition and

results of operations”) for the same reasons it violated Item 103 and ASC 450. CAC

¶¶ 323-328. These arguments also fail.

      Neither Item 105 nor 303 imposes a disclosure duty supporting a Rule 10b-5

claim. See Oran v. Stafford, 226 F.3d 275, 287 (3d Cir. 2000) (Item 303 does not

“create an independent cause of action for private plaintiffs”). Nor does either

provision require disclosure of legal proceedings or regulatory-enforcement

actions—those are covered by Item 103. See In re SeaChange Int’l, Inc., 2004 WL

240317, at *10 (D. Mass. Feb. 6, 2004) (“Item 103 marks the extent of a registrant’s

obligation to disclose information pertaining to pending litigation.”). Plaintiffs’ Item

105 and 303 claims fail for the same reasons as their Item 103 claims.

      In any event, Walmart satisfied Items 105 and 303. Item 105 requires

companies to identify (under the caption “Risk Factors”) material factors that make

an investment “speculative or risky.” 17 C.F.R. § 229.105(a). Plaintiffs’ own

allegations show that Walmart did just that. For example, in 2016 and 2017,

Walmart disclosed that it faced “risks associated with the legislative, judicial,


                                          19
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 30 of 45 PageID #: 1132




accounting, regulatory, political risks and conditions . . . which could materially

adversely affect our business or financial performance,” and that its “retail pharmacy

operations are subject to numerous risks.” CAC ¶¶ 333, 336. Plaintiffs note that

neither disclosure explicitly identified controlled substances. Id. ¶ 335. But a

disclosure is not misleading “simply because it does not disclose, at the level of

detail the plaintiffs request in retrospect, all of the factors that contribute to the risk

assessment.” See Hill v. Gozani, 638 F.3d 40, 60 (1st Cir. 2011); see also Oran, 226

F.3d at 285 (a “simple (and accurate) factual assertion” cannot “constitute a material

misrepresentation or omission”).

       After Walmart became involved in the MDL, it updated its “Risk Factors” and

identified specific risks related to the dispensing and distribution of controlled

substances. CAC ¶ 339. In particular, the Company informed investors that its

“pharmacy operations in the United States are subject to numerous federal, state and

local regulations” related to the “dispensing and sale of controlled substances”—and

that “noncompliance with applicable laws and regulations could result in the

imposition of civil and criminal penalties that could adversely affect” its business.

Id. ¶ 339 (emphasis added). Plaintiffs claim these statements misleadingly omitted

that Walmart had already violated the CSA and was the subject of criminal and civil

investigations. Id. ¶ 341. But Walmart has never been found to have violated the

CSA, and thus did not have to make such a disclosure. Nor did Walmart claim it

                                            20
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 31 of 45 PageID #: 1133




had complied with the CSA. Instead, it warned that noncompliance could lead to

substantial penalties (CAC ¶ 339)—and noted it was subject to lawsuits and

investigations on that issue. See id. ¶¶ 303, 339. Walmart thus did not “create an

impression of a state of affairs that differs in a material way from the one that

actually exists.” See Ferris v. Wynn Resorts Ltd., 462 F. Supp. 3d 1101, 1125 (D.

Nev. 2020) (regulatory risk-disclosures not misleading where it did not

“affirmatively intimate that Defendant Wynn had never been accused of sexual

misconduct”).

      The Company also satisfied Item 303. That section requires companies to

disclose “any known trends” “or uncertainties that will result in or that are

reasonably likely” to have a material impact on liquidity, net sales, revenues, or

income from continuing operations. 17 C.F.R. § 229.303(a)(1) (emphasis added).

An investigation is not a “known trend” or “uncertainty” under Item 303. Lions

Gate, 165 F. Supp. 3d at 20. And when the DOJ Investigation progressed to a stage

at which it was possible to form a belief that it could have a material impact on the

business, Walmart disclosed the investigation—and has continued to update the

disclosure. Supra, Sections III.A.1-2; see also Gaer v. Educ. Mgmt. Corp., 2011

WL 7277447, at *68 (W.D. Pa. Aug. 30, 2011) (“Plaintiffs have not demonstrated

that Item 303 required [defendant] to reveal hypothetical results of a negotiated

rulemaking process that had barely begun[.]”); Axar Master Fund, Ltd. v. Bedford,

                                         21
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 32 of 45 PageID #: 1134




308 F. Supp. 3d 743, 758 (S.D.N.Y. 2018) (“Plaintiffs fail sufficiently to allege that

defendants thought it was ‘reasonably possible’ or ‘reasonably likely’ that Republic

would be found in breach of its code share agreements.”); Howard, 395 F. Supp. 3d

at 568 (allegedly improper sales “were not a ‘trend or uncertainty’ known to

management”).

             4.    “Inherently Aspirational” Statements and “Puffery” in
                   Walmart’s Code of Ethics and Press Release Are Not
                   Actionable

      Plaintiffs next challenge statements in (i) Walmart’s Code of Ethics, and

(ii) an October 2017 press release about the opioid epidemic. See CAC ¶¶ 329-330,

346-350. These statements are not actionable.

      As to the Code, Plaintiffs assert that Walmart “unqualifiedly represented” that

it “complied with all laws.” CAC ¶ 348. Walmart never made such a representation.

On the page Plaintiffs quote, Walmart stated that it expects employees to be “honest,

fair, and objective. We speak up about concerns and comply with all laws and our

policies.” Ex. 12. These are “mission statements,” not “guarantees.” Howard, 395

F. Supp. 3d at 547. Indeed, Plaintiffs’ argument “has been soundly rejected by those

courts that have considered it.” Horizon Lines, 686 F. Supp. 2d at 415. That is

because codes of conduct are “inherently aspirational”—they express “opinions as

to what actions are preferable, as opposed to implying that all staff, directors, and

officers always adhere to its aspirations.” Retail Wholesale & Dep’t Store Union


                                         22
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 33 of 45 PageID #: 1135




Local 338 Ret. Fund v. Hewlett-Packard Co., 845 F.3d 1268, 1276 (9th Cir. 2017);

see also Horizon Lines, 686 F. Supp. 2d at 415 (“Were we to accept plaintiffs’

position, any company with a code of ethics . . . would be required to disclose all

violations of that code or face liability under federal securities law. Such a result is

untenable.”).

      As to the October 26, 2017 press release, Walmart stated that it stood “ready

to work with our nation’s leaders on a solution to combat prescription drug addiction

and misuse,” and had “taken steps to address” the abuse of prescription medications.

See CAC ¶¶ 329-330. This is not actionable for two reasons.

      First, Plaintiffs have alleged no facts suggesting Walmart’s statements were

false. Plaintiffs fail to allege, for example, that the Company was not ready to

combat prescription medication misuse—just the opposite, Plaintiffs say that

McMillon was “serious” about combatting opioid abuse and sought to do so. See,

e.g., CAC ¶ 356. Plaintiffs also challenge the press release’s comment that Walmart

had policies and training to support its pharmacists—claiming that Walmart did not

“comprehensively train its pharmacists.” See id. ¶¶ 329-330. But Plaintiffs’ own

allegations show that pharmacists did receive training “on how to handle

prescriptions raising red flags.” Id. ¶¶ 98-99; 330.7



7
  Plaintiffs also assert that the Company did not have a “suspicious order monitoring”
training program. CAC ¶ 330. This is untrue but also irrelevant. The challenged
                                           23
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 34 of 45 PageID #: 1136




      In any event, the press-release statements “are not material, but instead

constitute inactionable puffery.” Lord Abbett Affiliated Fund, Inc. v. Navient Corp.,

363 F. Supp. 3d 476, 487 (D. Del. 2019). Indeed, courts have dismissed claims

challenging similar statements. See id. (“robust compliance driven culture,” a “very,

very strong compliance culture,” and a “demonstrated compliance infrastructure”

were non-actionable puffery); Ong v. Chipotle Mexican Grill, Inc., 294 F. Supp. 3d

199, 232 (S.D.N.Y. 2018) (commitment to “serving safe, high quality food to [its]

customers” was puffery).

             5.     The SOX Certifications Are Not Actionable

      Finally, Plaintiffs challenge McMillon’s and Biggs’ SOX Certifications. See

CAC ¶¶ 342-343, 345. Because these certifications “concern the conclusions” of

McMillon and Biggs, they are opinions. In re AmTrust Fin. Servs., Inc. Sec. Litig.,

2019 WL 4257110, at *24-25 (S.D.N.Y. Sept. 9, 2019); see also, e.g., Lewis v. YRC

Worldwide Inc., 2020 WL 1493915, at *16 (N.D.N.Y. Mar. 27, 2020) (“SOX

certifications are statements of opinion.”). As a result, to establish falsity, Plaintiffs

“must do more than simply allege that the conclusions were wrong.” AmTrust, 2019

WL 4257110, at *25. Instead, they must identify specific facts suggesting that at the

time of certification, McMillon and Biggs had reached a different conclusion than




press release pertained to controlled-substance dispensing, while “suspicious-order
monitoring” policies pertain to distribution. See CAC Ex. A at 116 & ¶ 608.
                                          24
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 35 of 45 PageID #: 1137




the one stated—or reached no conclusion at all. See id.; see also Omnicare, 575

U.S. at 189. Plaintiffs fail to do so—in fact, the CAC does not contain any

particularized facts about either executive’s state of mind, let alone his knowledge

of the allegedly omitted facts. See infra, Section III.B.

      B.     Plaintiffs Do Not Allege a Strong Inference of Scienter

      The CAC must also be dismissed because it fails to plead particularized facts

giving rise to a strong inference of scienter. See 15 U.S.C. § 78u-4(b)(2). The

PSLRA’s “requirement for pleading scienter . . . marks a sharp break with Rule

9(b).” Institutional Invs. Grp. v. Avaya, Inc., 564 F.3d 242, 253 (3d Cir. 2009). To

survive a motion to dismiss, Plaintiffs must allege “strong circumstantial evidence”

that Defendants knew or recklessly disregarded the false or misleading nature of the

statement at issue. Id. at 276. A “reckless” statement involves “not merely simple,

or even inexcusable negligence, but an extreme departure from the standards of

ordinary care, and which presents a danger of misleading buyers or sellers that is

either known to the defendant or is so obvious that the actor must have been aware

of it.” GSC Partners CDO Fund v. Washington, 368 F.3d 228, 239 (3d Cir. 2004);

see also In re Digital Island Sec. Litig., 357 F.3d 322, 332 (3d Cir. 2004).

      Plaintiffs also “may not make general allegations of scienter against a

collective group of defendants; they must ‘specify the role of each defendant,

demonstrating each defendant’s involvement in misstatements and omissions.’”


                                          25
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 36 of 45 PageID #: 1138




Horizon Lines, 686 F. Supp. 2d at 420-21. Plaintiffs’ CAC must be dismissed

because it “alleges absolutely no corroborative facts—let alone ‘strong

circumstantial evidence’”—supporting a strong inference of scienter as to any

Defendant. In re Elecs. For Imaging, Inc. Sec. Litig., 2019 WL 397981, at *8 (D.N.J.

Jan. 31, 2019).

             1.    Plaintiffs Do Not Establish a Strong Inference of Scienter as
                   to the Individual Defendants

      The CAC “fails to cite a single document or witness that corroborates”

Plaintiffs’ conclusory assertion that Defendants possessed scienter.       Sapir v.

Averback, 2016 WL 554581, at *10 (D.N.J. Feb. 10, 2016). In fact, although the

CAC runs to 147 pages, it barely mentions Individual Defendants McMillon, Biggs,

and Chojnowski. See Israeli v. Team Telecom Int’l, Ltd., 2006 WL 2883237, at *5

(D.N.J. Oct. 10, 2006) (“each individual’s participation and scienter must be pled

separately and with particularity”).    Allegations like the CAC’s few generic

assertions about these Defendants have repeatedly been rejected as insufficient to

establish a strong inference of scienter.    See, e.g., Tellabs, 551 U.S. at 326

(“omissions and ambiguities count against inferring scienter” under the PSLRA’s

particularity requirements).

      Day-to-Day Involvement and Positions at the Company. Plaintiffs first

assert that the Individual Defendants must have acted with scienter because they

“directly participated in the management of the Company” and its “day-to-day

                                        26
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 37 of 45 PageID #: 1139




operations.” CAC ¶ 43. But “management’s general awareness of the day-to-day

workings of the company’s business does not establish scienter” absent “some

additional allegations of specific information conveyed to management and related

to fraud.” Rahman, 736 F.3d at 246-47 (citation omitted); see also Nat’l Junior

Baseball League v. Pharmanet Dev. Grp. Inc., 720 F. Supp. 2d 517, 556 (D.N.J.

2010) (allegations that defendants “were high-ranking executives” are consistently

“rejected as a basis for an inference of scienter”). Similarly, Plaintiffs’ assertion that

Defendants “knew the adverse non-public information about Walmart’s

misstatement[s]” because of their “senior positions” is not enough. CAC ¶ 398. A

“plaintiff cannot establish scienter . . . by loosely describing the managerial

hierarchy by which fraudulent conduct could have come to their attention.” Horizon

Lines, 686 F. Supp. 2d at 422; see also Oran, 226 F.3d at 290 (“[g]eneralized

imputations of knowledge . . . do not suffice regardless of the defendant’s position

within the company”).

      Access to Confidential Information.            The same is true for Plaintiffs’

assertion that the Individual Defendants were “privy to confidential proprietary

information” and served on a risk committee. CAC ¶¶ 43, 359. “[G]eneralized

claims that each individual defendant . . . ‘was privy to confidential proprietary

information concerning the Company’ are not sufficient to give rise to a strong

inference that he acted with the required state of mind.” Israeli, 2006 WL 2883237,

                                           27
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 38 of 45 PageID #: 1140




at *5.     Indeed, the CAC says nothing about what information the Individual

Defendants were privy to, when they received it, how it rendered the Challenged

Statements false or misleading, or why service on a risk committee even relates to

the Challenged Statements. See, e.g., Martin v. GNC Holdings, Inc., 2017 WL

3974002, at *16-18 (W.D. Pa. Sept. 8, 2017) (allegations that executives had “access

to relevant product information” and attended meetings cannot establish scienter);

In re NAHC, Inc. Sec. Litig., 2001 WL 1241007, at *19 (E.D. Pa. Oct. 17, 2001),

aff’d, 306 F.3d 1314 (3d Cir. 2002) (“conclusory allegations” that defendants “had

access to detailed information regarding the segments and lines of business” do not

“meet the particularity and strong inference requirements under the PSLRA”).

         Other Scattershot Assertions. Plaintiffs offer other scattershot scienter

assertions—including (1) the summary-judgment opinion and alleged failure to

produce certain documents in the MDL, (2) statements made in a state lawsuit, (3)

the hiring of Rachel Brand, and (4) Walmart’s membership in the National

Association of Chain Drug Stores. See CAC ¶¶ 358-367. All suffer from a common

flaw: they are entirely unconnected to the Individual Defendants, and do not suggest

that those Defendants knew (or recklessly disregarded) that the Challenged

Statements were false when made. See Klein v. Autek, 147 F. App’x 270, 277 (3d

Cir. 2005) (dismissing allegations that lacked “corroborating factual support

explaining how and why the Defendants knew the statements to be false”);

                                         28
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 39 of 45 PageID #: 1141




ScripsAmerica, Inc. v. Ironridge Glob. LLC, 119 F. Supp. 3d 1213, 1260-64 (C.D.

Cal. 2015) (rejecting allegations that defendants had a “pattern” of bad behavior).

      Motive to Drive Sales. Plaintiffs also argue that Defendants had a “motive

to drive sales by attracting customers to Walmart who filled” opioid prescriptions.

CAC ¶ 363. But “[c]orporate officers always have an incentive to improve the lot

of their companies”—“this is not, absent unusual circumstances, a motive to commit

fraud.” SLF Holdings, LLC v. Uniti Fiber Holdings, Inc., 499 F. Supp. 3d 49, 68

(D. Del. Nov. 4, 2020) (citing Avaya, 564 F.3d at 278). To support scienter,

Plaintiffs “must assert a concrete and personal benefit to the individual defendants

resulting from this fraud.” Id. Plaintiffs do not allege any “concrete and personal

benefit” to any Individual Defendant. On the contrary, the fact that Plaintiffs do not

allege that any Defendant sold Walmart shares during the Class Period cuts against

an inference of scienter. See NAHC, 2001 WL 1241007, at *18 (that “several of the

named individual defendants had not sold their company stock during the relevant

time frame” undermined an inference of scienter); Eckert v. Paypal Holdings, Inc.,

831 F. App’x 366, 367 (9th Cir. 2020) (lack of scienter “underscored” by absence of

allegations that “any defendant sold stock during the relevant time period”).

      McMillon’s Alleged Comment to a Friend and Input on DOJ

Presentation. The CAC contains only two allegations referencing any Individual

Defendant. Both pertain to McMillon, and neither supports scienter. Plaintiffs first

                                         29
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 40 of 45 PageID #: 1142




assert that in 2016, McMillon “bumped into a friend” who had lost his son to opioid

misuse.    CAC ¶ 61.     According to Plaintiffs, McMillon emailed his friend’s

“suggestions” to others at Walmart. Id. ¶¶ 204-205. But Plaintiffs do not plead any

facts about how forwarding a friend’s suggestions made McMillon aware of

“information contradicting [his] public statements.” See Baseball League, 720 F.

Supp. 2d at 553; see also Rahman, 736 F.3d at 242 (plaintiffs must plead facts

demonstrating defendants had a “mental state embracing intent to deceive,

manipulate, or defraud”). Plaintiffs do not even explain what the “suggestions”

were.

        Plaintiffs also assert that McMillon allegedly “provided input into and was

required to approve” Walmart’s July 26, 2018 DOJ presentation. See CAC ¶¶ 61,

357. This, too, does not support a strong inference of scienter. Plaintiffs say nothing

about what that presentation included, let alone how it shows that McMillon made

any statement with scienter. See In re Anadigics, Inc. Sec. Litig., 2011 WL 4594845,

at *34 (D.N.J. Sept. 30, 2011) (no scienter where plaintiffs’ allegations “say[]

nothing about what [defendant] might have learned” during tour of the company’s

warehouses). That Walmart continually told DOJ it complied with controlled-

substance laws undermines any suggestion that the referenced presentation admitted

the opposite.




                                          30
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 41 of 45 PageID #: 1143




             2.    Plaintiffs Do Not Establish a Strong Inference of Scienter as
                   to Walmart

      Plaintiffs also fail to allege a strong inference of Walmart’s scienter. To

determine whether a corporation has scienter, the Court must look “to the state of

mind of the individual corporate official or officials who make or issue the

statement”—i.e., McMillon, Biggs, and Chojnowski. See City of Roseville Emps.’

Ret. Sys. v. Horizon Lines, Inc., 442 F. App’x 672, 676 (3d Cir. 2011); see also 17

C.F.R. § 240.10b-5 (only a person who “make[s] any untrue statement” is liable

under Section 10(b) and Rule 10b-5). Because Plaintiffs have not pled “the requisite

level of scienter with respect to at least one of the Individual Defendants,” their

allegations against Walmart also fail. Cheung v. Keyuan Petrochemicals, Inc., 2012

WL 5834894, at *3 (C.D. Cal. Nov. 1, 2012); Horizon Lines, 442 Fed. App’x at 676

(affirming dismissal where there was no individual who made statements with

scienter).

      Plaintiffs perhaps seek to plead scienter against Walmart “without raising the

same inferences required to attribute scienter to an individual defendant.” Rahman,

736 F.3d at 246. The Third Circuit has neither accepted nor rejected this approach,

but courts within the Third Circuit have routinely rejected this theory as improper

“group pleading.” See Horizon Lines, 713 F. Supp. 2d at 403 (D. Del. 2010)

(rejecting “collective-scienter” theory); Howard, 395 F. Supp. 3d at 565 (same).

Even if this theory were viable, however, Plaintiffs have failed to allege the type of

                                         31
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 42 of 45 PageID #: 1144




“dramatic” facts permitting an inference that corporate officers knew the Challenged

Statements were false. See Makor Issues & Rights, Ltd. v. Tellabs Inc., 513 F.3d

702, 710 (7th Cir. 2008) (giving an example of “dramatic” facts that might permit

such an inference: “Suppose General Motors announced that it had sold one million

SUVs in 2006, and the actual number was zero.”).

      C.     Plaintiffs Do Not Allege Loss Causation

      Plaintiffs point to two disclosures that they claim revealed the relevant “truth”

about the alleged misstatements: the ProPublica Article and the DOJ Complaint.

CAC ¶¶ 368-374. Neither is “corrective” for loss-causation purposes.

      Plaintiffs first assert that ProPublica disclosed “for the first time” that “DOJ

had been criminally investigating Walmart for violating the CSA and related laws .

. . since 2016.” Id. ¶ 351. That is wrong. Rather, Walmart told investors nearly two

years earlier that governmental entities were investigating its controlled-substance

dispensing practices. Id. ¶ 303. Walmart also stated that it could “provide no

assurance as to the scope and outcome” of the investigations, “no assurance as to

whether its business, financial condition or results of operations will not be

materially adversely affected,” and that it could face “significant criminal” penalties.

Id. ¶¶ 303, 339. That the article contained the EDTX’s one-sided view of the

investigation is not “corrective” for loss-causation purposes. On the contrary, the

article reported nothing other than the possibility of a criminal proceeding that never


                                          32
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 43 of 45 PageID #: 1145




happened. “To be sure, stock prices may fall upon the announcement of an . . .

investigation, but that is because the investigation can be seen to portend an added

risk of future corrective action. That does not mean that the investigations, in and

of themselves, reveal to the market that the company’s previous statements were

false or fraudulent.” Meyer v. Greene, 710 F.3d 1189, 1201 (11th Cir. 2013) .

      The same is true for Plaintiffs’ second alleged corrective disclosure. Plaintiffs

assert that on December 22, 2020, DOJ announced “that it had filed a lawsuit against

Walmart for alleged violation of the Controlled Substances Act.” CAC ¶ 372.

Walmart disclosed the possibility of this lawsuit at least two months earlier. Ex. 11

(Walmart Inc. v. U.S. Dep’t of Justice et al., Case No. 4:20-cv-00817-SDJ (E.D. Tex.

Oct. 22, 2020)). The DOJ Complaint thus was “not a release of information that

reveal[ed] to the market the pertinent truth that was previously concealed or

obscured by the company’s [alleged] fraud.” Uniti, 499 F. Supp. 3d at 70; see also

In re Merck & Co. Sec. Litig., 432 F.3d 261, 270 (3d Cir. 2005) (article was not a

corrective disclosure where the facts were already known to the market).

IV.   CONCLUSION

      Defendants respectfully request that the Court dismiss Plaintiffs’ Complaint

with prejudice.




                                         33
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 44 of 45 PageID #: 1146




Dated: October 8, 2021                     Respectfully submitted,

Of Counsel:                                RICHARDS, LAYTON &
                                           FINGER, P.A.

Sean M. Berkowitz                          /s/ Robert W. Whetzel
Nicholas J. Siciliano                      Robert W. Whetzel (#2288)
LATHAM & WATKINS LLP                       Raymond J. DiCamillo (#3188)
330 North Wabash Avenue, Suite 2800        920 North King Street
Chicago, Illinois 60611.                   Wilmington, Delaware 19801
Tel.: +1.312.876.7700                      Tel.: +1.302.651.7700
Fax: +1.312.993.9767                       Fax: +1.302.651.7701
Email: sean.berkowitz@lw.com               Email: whetzel@rlf.com
Email: nicholas.siciliano@lw.com           Email: dicamillo@rlf.com

Counsel for Defendants                     Counsel for Defendants




                                      34
Case 1:21-cv-00055-CFC Document 39 Filed 10/08/21 Page 45 of 45 PageID #: 1147




                     CERTIFICATION OF COMPLIANCE
      The foregoing document complies with the type-volume limitation of this

Court’s September 24, 2021 Order Regarding Response to Amended Class Action

Complaint for Violations of the Federal Securities Laws. The text of this brief,

including footnotes, was prepared in Times New Roman, 14 point. According to the

word processing system used to prepare it, the brief contains 7,959 words, excluding

the case caption and cover page, table of contents, table of authorities, glossary of

defined terms, exhibits, and any request that the Court consider such exhibits.


Dated: October 8, 2021                        /s/ Robert W. Whetzel
                                              Robert W. Whetzel (#2288)




                                         35
